Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 1 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 2 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 3 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 4 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 5 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 6 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 7 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 8 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 9 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 10 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 11 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 12 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 13 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 14 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 15 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 16 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 17 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 18 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 19 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 20 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 21 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 22 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 23 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 24 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 25 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 26 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 27 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 28 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 29 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 30 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 31 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 32 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 33 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 34 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 35 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 36 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 37 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 38 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 39 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 40 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 41 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 42 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 43 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 44 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 45 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 46 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 47 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 48 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 49 of 50
Case 19-41530   Doc 11   Filed 06/18/19 Entered 06/18/19 14:21:19   Desc Main
                          Document     Page 50 of 50
